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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-00742-DDD-KLM

JAMES COREY GOODE, individually, and GOODE
ENTERPRISE SOLUTIONS INC.

                                        Plaintiffs,

v.

GAIA, INC., JAY WEIDNER, CLIF HIGH, BENJAMIN
ZAVODNICK, ALYSSA MONTALBANO, JIRKA
RYSAVY, BRAD WARKINS AND KIERSTEN MEDVEDICH

                                        Defendants.

______________________________________________________________________________

 PLAINTIFFS' CONDITIONAL OPPOSITION TO DEFENDANTS' MOTION
  FOR ATTORNEYS' FEES BY JIRKA RYSAVY, KIERSTEN MEDVEDICH
                            AND BRAD WARKINS
______________________________________________________________________________

COME NOW, Plaintiffs James Corey Goode and Goode Enterprise Solutions, Inc.

(“Plaintiffs”), submit this Conditional Opposition to Defendants’ Motion for

Attorneys’ Fees pursuant to Federal Rule of Civil Procedure 54(d) and Colorado

Revised Statutes §§ 13-17-201 and 13-17-102(3) (Docket 453).


                                 INTRODUCTION

      This Conditional Opposition is filed in light of the impending deadline to

respond to Defendants’ Motion for Attorneys’ Fees (Docket 453, hereafter, the “Fees

Motion”) on January 10, 2025. Plaintiffs have filed an unopposed and stipulated

motion for an extension of time to respond to the Fees Motion, which is pending before

the Court (Docket 457). If the Court grants this motion, Plaintiffs respectfully request


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the opportunity to file an amended and more comprehensive response to the Fees

Motion.


      In its March 31, 2024 ruling (Docket 390, hereafter the “Order”), the Court

dismissed certain claims based on procedural or jurisdictional grounds but did not

dismiss the entire action or all tort claims. Defendants’ request for attorneys’ fees is

improper because (1) the claims dismissed were not wholly tortious; (2) key claims

were referred to the Trademark Trial and Appeal Board (TTAB) for resolution rather

than dismissed; (3) Plaintiffs’ claims were legitimate, good-faith efforts to advance

legal theories and address substantive legal disputes; (4) Defendants have filed

mirror claims that remain pending, further undermining their entitlement to fees;

and (5) Plaintiffs’ claims were not frivolous, groundless, or vexatious under C.R.S. §

13-17-102(3).


                                     ARGUMENT

      Defendants’ Motion for Attorneys’ Fees under Federal Rule of Civil Procedure

54(d) and C.R.S. §§ 13-17-201 and 13-17-102(3) should be denied. Under Rule 54(d),

attorneys’ fees are not automatically awarded unless expressly authorized by statute

or contract, and there is no evidence that Plaintiffs acted in bad faith, vexatiously, or

wantonly to justify such an award. C.R.S. § 13-17-201 is inapplicable because the

litigation involves both tort and non-tort claims, as detailed in the Court’s Order, and

the primary focus of the case lies in contractual disputes. Moreover, key claims were

referred to the TTAB rather than dismissed outright, and Defendants’ own mirror

claims, which remain pending, underscore the substantive nature of the disputes.


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Finally, Plaintiffs’ claims were brought in good faith, supported by credible evidence

and legitimate legal theories, and procedural dismissals do not render them frivolous,

groundless, or vexatious under C.R.S. § 13-17-102(3).


      A. C.R.S. § 13-17-201 Applies Only to Entirely Tort-Based Actions

      C.R.S. § 13-17-201 was enacted to discourage the institution or maintenance of

unnecessary tort claims (Kennedy v. King Soopers Inc., 148 P.3d 385, 388 (Colo. App.

2006); Robinson v. Colo. State Lottery Div., 179 P.3d 998, 1010 (Colo. 2008)). The

statute applies only when an entire tort action is dismissed under Rule 12(b), not

when a complaint includes both tort and non-tort claims (Sotelo v. Hutchens Trucking

Co., 166 P.3d 285, 287 (Colo. App. 2007); Berg v. Shapiro, 36 P.3d 109, 113 (Colo. App.

2001)).


      The Court’s Order dismissed certain claims based on procedural or

jurisdictional grounds but did not dismiss all tort claims or the entire action.

Plaintiffs’ case involves a mix of tort and non-tort claims, rendering § 13-17-201

inapplicable. As explained in Sotelo, § 13-17-201 does not apply when the dismissal

pertains only to some tort claims or when the action also includes viable non-tort

claims.


              B. The Case Primarily Sounds in Contract Claims

      The core of this litigation involves contract claims, including disputes over

agreements, relationships, and performance between the parties. As reflected in the




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Court’s Order, many of Plaintiffs’ claims arose from alleged breaches of contractual

obligations. The remaining claims underscore the contractual nature of the dispute.


      Under Colorado law, the determination of whether C.R.S. § 13-17-201 applies

turns on the essence of the action, not isolated claims. When the essence of an action

is contractual, the statute is inapplicable even if tort claims are included (Sotelo v.

Hutchens Trucking Co., 166 P.3d at 287). Here, Plaintiffs’ claims have always focused

primarily on contractual obligations, making § 13-17-201 inapplicable.


 C. The Statute Does Not Apply When Tort Claims Are Not Fully Dismissed

      C.R.S. § 13-17-201 requires dismissal of all tort claims in an action to trigger

an award of attorneys’ fees. The Court’s Order referred key claims to the TTAB for

further adjudication rather than dismissing them outright. Because the TTAB

retains jurisdiction over those claims, they remain active and cannot be deemed

frivolous or groundless.


      The statute’s purpose is to deter frivolous litigation, not to penalize good-faith

efforts to resolve complex legal disputes. Plaintiffs’ claims were grounded in

legitimate legal theories and sought to resolve substantial issues, not to harass or

impose undue costs on Defendants.


      D. Defendants’ Mirror Claims Undermine Their Request for Fees

      Defendants have filed mirror claims that remain pending in Colorado

jurisdiction. These claims involve overlapping issues and legal theories, highlighting

that the disputes at issue are substantive and not frivolous. Awarding attorneys’ fees


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to Defendants while their own similar claims remain unresolved would create

inequity and contravene the principles underlying C.R.S. § 13-17-201.


      Plaintiffs intend to file a motion for judgment on the pleadings to address these

mirror claims, further demonstrating the substantive nature of the disputes between

the parties.




 E. Plaintiffs’ Claims Were Not Frivolous, Groundless, or Vexatious Under
                            C.R.S. § 13-17-102(3)

   Defendants also fail to establish that Plaintiffs’ claims were frivolous, groundless,

or vexatious under C.R.S. § 13-17-102(3).


   1. Good Faith Efforts to Address Legitimate Issues

   Plaintiffs’ claims were brought in good faith and based on credible evidence and

legal theories. Colorado courts have emphasized that claims are not frivolous if they

represent a legitimate attempt to extend, modify, or reverse existing law (Hamon

Contractors, Inc. v. Carter & Burgess, Inc., 229 P.3d 282, 299 (Colo. App. 2009); Green

Nimbus, LLC & CDDC LLC v. Petty, 2024 Colo. Dist. LEXIS 227). Plaintiffs’ claims

addressed complex issues related to misconduct and contractual obligations, which

were supported by substantial legal and factual research.


   2. Dismissals on Procedural or Jurisdictional Grounds Do Not
      Establish Frivolity

   The Court’s Order dismissed certain claims on procedural or jurisdictional

grounds, including referral of claims to the TTAB. These rulings do not demonstrate


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that the claims were without merit. A dismissal for lack of jurisdiction or improper

forum is not equivalent to a finding that a claim is frivolous or groundless.


   3. No Evidence of Vexatious Conduct

   Defendants have presented no evidence that Plaintiffs pursued their claims in bad

faith or with the intent to harass or annoy. Colorado courts require clear proof of bad

faith for a claim to be deemed vexatious. Plaintiffs’ claims were brought with a good-

faith intent to resolve substantive legal disputes, further negating any basis for

sanctions under § 13-17-102(3).


                 CONDITIONAL NATURE OF THIS RESPONSE

        Plaintiffs reiterate that this response is conditional due to the pending motion

for an extension of time to respond to the Fees Motion (Docket 457). Should the Court

grant Plaintiffs’ unopposed motion, Plaintiffs respectfully request the opportunity to

file an amended response addressing additional issues and evidence in greater detail.


                                    CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court deny

Defendants’ Motion for Attorneys’ Fees. In the alternative, Plaintiffs request that any

award of fees be significantly reduced to reflect only reasonable and necessary costs

directly attributable to dismissed tort claims, excluding duplicative or unrelated

work.




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Date: January 10, 2025                         Respectfully submitted,

                                              /s Valerie Yanaros, Esq.
                                              Valerie Yanaros, Esq.
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                                              District Court of Colorado
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                                              ATTORNEY FOR PLAINTIFFS




                                CERTIFICATE OF SERVICE

       The below signed certifies that a copy of this filing will be served on each

 Defendant by ECF on January 10, 2025.

                                                            /s Valerie Yanaros, Esq.
                                                            Valerie Yanaros, Esq.


CERTIFICATION OF WORD COUNT: I hereby certify that the foregoing pleading
complies with the type-volume limitation set forth in Judge Domenico’s Practice
Standard III(A)(1).




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